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        IN THE UNITED STATES DISTRICT COURT
      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TAMMY KITZMILLER; BRYAN AND            )
CHRISTY REHM; DEBORAH                  )
FENIMORE AND JOEL LIEB; STEVEN         )
STOUGH; BETH EVELAND; CYNTHIA          )
SNEATH; JULIE SMITH; AND               )
ARALENE (“BARRIE”) D. AND              )
FREDERICK B. CALLAHAN,                 )
                                       )
                Plaintiffs,            )
                                       )     Civil Action No. 04-2688
                   v.                  )
                                       )     Hon. John E. Jones, III
DOVER AREA SCHOOL DISTRICT;            )
DOVER AREA SCHOOL DISTRICT             )
BOARD OF DIRECTORS,                    )
                                       )
                Defendants,            )
                                       )
MICHAEL AND SHEREE HIED;               )
RAYMOND AND CYNTHIA                    )
MUMMERT; AND JAMES AND                 )
MARTHA CASHMAN,                        )
                                       )
                        Intervenors.   )

                  ANSWER IN INTERVENTION
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I.     INTRODUCTION

       The Intervenors are the parents of children who attend Dover Area

High School and other schools in the Dover Area School District. The

Intervenors seek to participate in this action because, if the Plaintiff’s are

successful, the lawsuit will have the effect of censoring the Dover Area

School District Board and shielding all ninth graders from criticism of

Darwin’s Theory of Evolution. The Intervenors do not seek to prevent the

teaching of evolution or to require the teaching of some other theory relative

to biological origins. Instead, they seek to ensure that ninth graders will

have full access to information concerning the theory of evolution, including

any gaps for which there is no scientific evidence.

       The Dover Area School District Board developed and seeks to

implement a curriculum that utilizes a text called Biology, which is

published by Prentice-Hall and recommended by Dover Area High School’s

science teachers. In accordance with Pennsylvania’s Academic Standards,

the ninth grade biology curriculum also includes instruction on Darwin’s

Theory of Evolution. The Intervenors do not seek to modify or prohibit any

aspect of this curriculum. In fact, they desire (and expect) that their children

will learn and be tested on Darwin’s Theory of Evolution. To the extent that

there are gaps or problems with Darwin’s Theory of Evolution, however, the


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Intervenors seek to ensure that their children will: (a) be made aware of the

fact that there are gaps or problems; and (b) have the opportunity to explore

such gaps and problems through the use of relevant supplemental textbooks

in the school’s library or elsewhere. The Dover Area High School

curriculum and policies, which includes the October 18, 2004 resolution that

is the subject of this lawsuit, ensures such access. The Plaintiffs’ lawsuit

threatens such access. For that reason, the Intervenors seek to intervene as

Defendants in this matter to protect their Constitutional rights.

II.     INTERVENOR PARTIES

        a.    Michael and Sheree Hied are residents of Dover, Pennsylvania.

They are the parents of a ninth grade student at Dover High School.

        b.    Raymond and Cynthia Mummert are residents of Dover,

Pennsylvania. They are the parents of a ninth grade student at Dover High

School and a fifth grade student who plans to attend Dover High School.

        c.    James and Martha Cashman are residents of Dover,

Pennsylvania. They are the parents an eighth grade student and a seventh

grade student in the Dover Area School District, both of whom intend to

attend Dover High School.




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III.     RESPONSE TO PLAINTIFFS’ ALLEGATIONS

                              Jurisdiction and Venue

         1.      Admitted.

         2.      Admitted.

                                       Parties

         3. – 11.      Intervenors are without knowledge or information

sufficient to form a belief as to the truth of the averments set forth in

paragraphs 3 – 11.

                                    Background

               Science and Scientific Theory of Biological Evolution

         12.     Admitted.

         13.     Admitted in part; denied in part. It is admitted that the term

“theory” has a distinct meaning. A theory is a plausible or acceptable

general principle or body of principles offered to explain a phenomenon. It

is denied that the term “theory” is intended to suggest an absence of doubt.

Intervenors are without knowledge or information sufficient to form a belief

as to the truth of the remaining averments set forth in paragraph 13.

         14.     Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 14.




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            Creationism and the Concept of Intelligent Design

      15.    Admitted in part; denied in part. It is admitted that the

scientific theory of evolution has been criticized, and that some of this

criticism may have come from “persons who disagree with it on religious

grounds.” To the extent that criticism of biological evolution based on

religious grounds exists, it is denied that such a fact constitutes a basis for

prohibiting all criticism of biological evolution at Dover Area High School.

      16.    Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 16. By

way of further response, to the extent that some opponents of the theory of

biological evolution may have “attempted to forbid, limit, or otherwise

undermine the teaching of the scientific theory of biological evolution in

public schools,” it is denied that such a fact constitutes a basis for

prohibiting all criticism of biological evolution at Dover Area High School.

It is also denied that Dover High School’s biology curriculum forbids, limits,

or undermines the teaching of evolution.

      17.    The averments set forth in paragraph 17 constitute conclusions

of law, to which no response is required.

      18.    Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 18.



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          19.   Denied. Intervenors are without knowledge or information

sufficient to form a belief as to whether there is one uniformly accepted

definition of “intelligent design.” By way of further response, the

supplemental textbook, Of Pandas and People, is a writing that speaks for

itself.

          20.   Admitted in part; denied in part. It is admitted that the

“existence of a creator is a central tenet of traditional theistic religions.” It is

denied that this fact makes intelligent design inherently religious.

          21.   Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 21.

          22.   The averments set forth in paragraph 22 constitute conclusions

of law, to which no response is required.

          23.   Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 23.

          24.   Admitted in part; denied in part. It is admitted that the textbook

Of Pandas and People was first published in 1989, and that a second edition

was published in 1993. Intervenors are without knowledge or information

sufficient to form a belief as to the truth of the remaining averments set forth

in paragraph 24.




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      25.    Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 25.

            Dover Area School District’s Science Curriculum

      26.    Admitted.

      27.    Admitted.

      28.     Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 28.

      29.    Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 29.

      30.    Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 30.

      31.    Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 31.

      32.    Admitted in part; denied in part. It is admitted that multiple

copies of Of Pandas and People were made available to Dover High School

students as a result of an anonymous donation. Intervenors are without

knowledge or information sufficient to form a belief as to the truth of the

remaining averments set forth in paragraph 32.

      33.    Admitted.




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      34.    Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 34.

      35.    Admitted.

      36.    Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 36.

      37.    Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 37.

      38.    Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 38.

      39.    Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 39.

      40.    Admitted.

      41.    Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 41.

      42.    Admitted.

      43.    Admitted in part; denied in part. It is admitted that the Biology

Curriculum posted on the Dover Area School District’s web site contains the

statements alleged in paragraph 43. To the extent that this paragraph alleges

that the teaching of Intelligent Design is part of the Biology Curriculum,

these averments are denied.



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      44.    Admitted.

      45.    Admitted in part; denied in part. It is admitted that the Dover

Area High School biology curriculum, as Intervenors understand it, requires

that students be made aware of the fact that the theory of biological

evolution has gaps and problems. It is denied that the curriculum requires

the teaching of intelligent design. Instead, the curriculum merely permits

students who desire to learn more about the gaps and problems with the

theory of biological evolution to do so through the use of donated

supplemental textbooks kept in the school library.

      46.    Intervenors are without knowledge or information sufficient to

form a belief as to the truth of the averments set forth in paragraph 46.

      47.    Denied. By way of further response, it is the Plaintiffs – who

seek to remove supplemental textbooks from the school library and to shield

students from the fact that there are gaps in the theory of biological

evolution – that would “do nothing to improve, and much to harm, science

education in the school.”

      48.    Denied. By way of further response, Intervenors and their

children will suffer harm if the Plaintiffs are successful in censoring the

Dover Area School Board and removing books from the school library.




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                                    Count I

              Alleged Violation of Establishment Clause of
       First Amendment of the Constitution of The United States

      49. – 54.    Denied.

                                    Count II

          Alleged Violations of the Constitution of the
 Commonwealth of Pennsylvania, Art. I, Sec. 3; Art III, Secs. 15 & 29

             55. – 56.    Denied.

      WHEREFORE, Intervenors respectfully request that Plaintiffs’

Complaint be dismissed with prejudice.

                    AFFIRMATIVE DEFENSE NO. 1

      Plaintiffs’ Complaint fails to state a claim upon which relief can be

granted.

                    AFFIRMATIVE DEFENSE NO. 2

      The relief sought by the Plaintiffs – the limitation of access to books

and the prohibition of criticism of the theory of biological evolution –

threaten Intervenors’ First Amendment right to have full access to the

curriculum established by the Dover Area School Board.




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Dated:                       Respectfully submitted,

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